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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :   Case No. 21-CR-566 (RCL)
  v.                                            :
                                                :
DAVID NICHOLAS DEMPSEY,                         :
                                                :
        Defendant.                              :


    JOINT MOTION TO VACATE TRIAL DATE AND TO SUSPEND DEADLINES

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, David Nicholas Dempsey, with the concurrence of

his attorney, move to vacate the December 14, 2023, trial date and to suspend the currently

imposed trial deadlines. The parties request that the Court schedule a plea hearing in this matter

on the earliest of the following dates that the Court is available: October 16, 18-19, 23-31,

December 1, 5-11, 13-15.

                                             Respectfully submitted,

                                             FOR THE UNITED STATES
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                                             United States Attorney
                                             D.C. Bar No. 481052

                                        By: /s/ Douglas B. Brasher
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